                  Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.1 Page 1 of 12

                                                                                                                        -·
     AO 106 (Rev . 04/10) Application for a Search Warrant
,)




                                            UNITED STATES DISTRICT COUkT                                               FIL.E.D
                                                                            for the
                                                                Southern District of California                           NOV - 5 2m9

                     In the Matter of the Search of                                                               CU::.RK US D1STHICT COURT
                                                                               )                               SOUTH~HN DI S tHICT OF CALIFORNIA
                (Briefly describe the property to be searched                  )                               eY                               DEPUTY
                 or identify the person by name and address)                   )           Case No.
        LG Cellular Phone, Model No. Q710AL, MEID No.
     089466522504350072 mor~ particularly described in A-3
                                                                               )
                                                                               )
                                                                               )
                                                                                                      19MJ4910
                                                   APPLICATION FOR A SEARCH WARRANT
             I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
     penalty of perjury that I have reason to believe that on th~ following person or property (identify the person or describe the
     property to be searched and give its location):

       SEE ATTACHMENT A-3
     located in the              Southern              District of                 California          , there is now concealed (identify the
     person or describe the property to be seized):

       SEE ATTACHMENT B

                 The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more) :
                       ~ evidence of a crime;
                       0 contraband, fruits of crime, or other items illegally possessed;
                       0 property designed for use, intended for use, or used in committing a crime;
                       0 a person to be arrested or a person who is unlawfully restrained.

                 The search is related to a violation of:
                   Code Section                                                      Offense Description
               21 U.S .C. §§ 952, 960, 963              Importation of Controlled Substances; Conspiracy to Import Controlled
                                                        Substances

                 The application is based on these facts:

               SEE AFFIDAVIT

                 i    Continued on the attached sheet.
                 0 Delayed notice of       days (give exact ending date if more than 3                         ,         , ,   ) is requested
                   under 18 U.S.C. § 3103a, the basis of which is set forth on the attaJ e




                                                                                                      Printed name and title

     Sworn to before me and signed in my presence.


      Date :         1L)5}Jj                                                           1AJl4-2WIA7f.Judge's
                                                                                                       ~
                                                                                                            signature

      City and state: San Diego, CA                                                   Honorable Alli son H. Goddard , U.S. Magistrate Judge
                                                                                                      Printed name and title
         Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.2 Page 2 of 12



 1                 AFFIDAVIT IN SUPPORT OF SEARCH WARRANT
 2 II      I, Vincenzo L. Zoni, having been duly sworn, do hereby state that the following is
 3 II true to my knowledge and belief:
 4                                               INTRODUCTION
 5         1.    I make this affidavit in support of an application for a warrant to search the
 6 II following electronic devices, as further described in Attachments A-1 through A-4
 7 II (collectively the "Target Devices"), and seize evidence of violations of federal law,
 8 llnamely
 9 1121 U.S.C. §§ 952, 960, and 963, as further described in Attachment B:
10                      Alcatel Cellular Phone
                        Model No. 50492
11                      IMEI0149400005548533
12                      ("Target Device l ")
13                      Samsung Tablet
                        Model No. SMT330NU
14                      Serial No. R52G20J9ZP
15                      ("Target Device 2")
16                      LG Cellular Phone
                        Model No. Q710AL
17                      MEIDNo.089466522504350072
18                      ("Target Device 3")
19                      ZTE Cellular Phone
                        Serial No. 320484440869
20                      IMEI990008941610417
21                      ("Target Device 4")
22 II This search supports an investigation and prosecution of Hector Martinez-Robos
23 II ("MARTINEZ-ROBOS") and Rosa Isela Acuna ("ACUNA"), who are presently charged
24 II with committing violations of2 l U.S.C. §§ 952 and 960. A factual explanation supporting
25 11 probable cause follows.
26         2.     On or about April 8, 2019, I obtained authority to search these Target
27 IIDevices. See 19-MJ-1417 AGS (S.D. Cal. April 8, 2019). This warrant seeks authority to
28 II review the Target Devices again, to fully ensure that investigators have seized all data



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                Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.3 Page 3 of 12



 1 II relevant to the case. That search can take advantage of any updates in software and
 2 II hardware tools available to investigators, and investigators may use a "PIN" code that
 3 II Acuna provided for Target Device 4 to conduct a more thorough search. Moreover, this
 4 II warrant seeks authority for a broader range of time. Except as noted in Paragraphs 22 and
 5 1123, the probable cause provided in this affidavit is the same as in my prior application.
 6 II             3.       Officers with the Department of Homeland Security, United States Customs
 7 II and Border Protection ("CBP"), seized the Target Devices from MARTINEZ-ROBOS and
 8 II ACUNA on January 7, 2019, when they were arrested at the San Ysidro, California, Port
 9 II of Entry ("POE") for drug smuggling, in violation of 21 U.S.C. §§ 952 and 960. The
1O II Target Devices are currently in the possession of the Department of Homeland Security
11 II and is presently stored at 880 Front Street, Suite 3200, San Diego, California 92101.
12 II             4.       Based on the information below, there is probable cause to believe that
13 II searches of the Target Devices will produce evidence of the aforementioned crimes, as
14 II more particularly described in Attachment B.
15 11             5.       Because this affidavit is being submitted for the limited purpose of
16 II establishing probable cause to obtain a search warrant, it does not contain all of the
17 II information known to investigators about this investigation. It contains only those facts
18 II believed to be necessary to establish probable cause. In addition, information contained in
19 II this affidavit is based upon reviews of official reports and records, conversations with other

20 II investigators experienced in the area of drug investigations, and my personal observations
21 II and knowledge. When the contents of documents or statements of others are reported
22 II herein, they are reported in substance and in part unless otherwise indicated.
23   11                                        TRAINING AND EXPERIENCE
24                6.       I am currently a Special Agent with the United States Department of
25 II Homeland Security, Immigration and Customs Enforcement ("ICE"), Homeland Security
26 II Investigations ("HSI") formerly known as the ICE Office of Investigations ("ICE-OI"). I
2711 have been employed by ICE 01 / HSI as a Special Agent since the agency was first created
28 II on March 1, 2003. From 2002 to 2003, I was a Special Agent with a predecessor agency,
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          Affidavit in Support of Search Warrant
              Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.4 Page 4 of 12



 1 II the Immigration and Naturalization Service. Prior to becoming a Special Agent, I served
 2 II as Border Patrol Agent with the United States Border Patrol, from 1995 to 2002.
 3 II           7.       As a Special Agent for HSI, I am responsible for investigating laws
 4 II enumerated in Title 8, Title 18, and Title 21 of the United States Code. Included in my
 5 II responsibilities is the investigation of illicit contraband-smuggling, including narcotics-
 6 II smuggling, across the United States border.
 7              8.       I have completed the USBP Basic Trainfog Course at the Federal Law
 8 II Enforcement Training Center located in Glynco, Georgia, as well as other follow-up
 9 II courses required by ICE.
10 II           9.       Since June of 2016, I have been assigned to the HSI Special Agent in Charge
11 II- Investigative Services Group as a liaison between HSI and the United States Attorney's
12 Office for the Southern District of California.
13              10.      Prior to my current assignment, I was assigned to the Deputy Special Agent
14 II in Charge San Ysidro, located in San Ysidro, California. My specific assignment was to
15 11 the Narcotics Response Group. During my tenure, my duties included investigating the
16 II illicit trafficking of controlled substances into the United States. During my assignment to
17 II the Narcotics Response Group, I participated in the investigation of various drug-
18 II trafficking organizations involved in the acquisition, importation, transportation, and
19 distribution of controlled substances into and through the Southern District of
20 California. Because the nature of my ongoing work requires me to keep apprised of recent
21 II trends and developments involved in the investigations of drug traffickers, I regularly
22 II communicate with agents from the Drug Enforcement Administration, Customs and
23 II Border Protection ("CBP"), and other local and state law enforcement officers operating
24 II within the Southern District of California.
25              11.      Through the course of my training, investigations and conversations with
26 II other law enforcement personnel, I am aware that it is a common practice for narcotics
27 II smugglers to work in concert with other individuals and to do so by utilizing cellular
28 II telephones, and tablets, to maintain communications with co-conspirators in order to
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        Affidavit in Support of Search Warrant
              Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.5 Page 5 of 12



 1 II further their criminal activities. Conspiracies involving narcotics smuggling generate many
 2 II types of evidence including, but not limited to, evidence such as voicemail messages
 3 II referring to the arrangements of travel and payment, names, photographs, text messages,
 4 II emails, instant messages, social networking messages, maps and directions, and phone
 5 II numbers of co-conspirators.
 6 II           12.      In the course of my duties, I have been a case agent directing drug-related
 7 II investigations. I have participated in many aspects of criminal investigations including
 8 II reviewing evidence, conducting physical and electronic surveillance, and executing search
 9 II and arrest warrants. I have interviewed defendants and witnesses while conducting various
1O II investigations. I have gained a working knowledge and insight into the normal operational
11 II habits of narcotics traffickers, with particular emphasis on those who attempt to import
12 II narcotics into the United States from Mexico at the San Diego international ports of entry.
13 II           13.      Based upon my training and experience as an HSI Special Agent, and my
14 II consultations with law enforcement officers experienced in narcotics trafficking
15 11 investigations, and all the facts and opinions set forth in this affidavit, I further submit the
16 II following:
17 II                    a.       Drug smugglers use cellular telephones because the devices are mobile
18 II and provide instant access to telephone calls, texts, internet, application-based
19 II communications platforms (e.g.. WhatsApp). and voice messages;
20 II                    b.       Drug smugglers use cellular telephones because they are able to
21 II actively monitor the progress of the illegal cargo while the conveyance is in transit;
22                       C.       Drug smugglers and their accomplices use cellular telephones because
23 II the phones help them arrange for the delivery of cargo at predetermined locations and
24 II monitor/ plan for arrival times;
25 II                    d.       Drug smugglers use cellular telephones to direct couriers to
26 11 synchronize drop off and pick up times of the illegal cargo;
27 II                    e.       Drug smugglers use cellular telephones to notify or warn accomplices
28 II about law-enforcement activity, such as the presence and posture of marked and perceived
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        Affidavit in Support of Search Warrant
              Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.6 Page 6 of 12



 1 II unmarked patrol vehicles, or the operational status of border checkpoints and border
 2 II crossings; and
 3                       f.       The use of cellular telephones by smugglers tends to generate evidence
 4 II stored on the cellular telephones, including but not limited to emails, text messages,
 5 II application-based communications, photographs, audio files, call logs, address book
 6 II entries, IP addresses, social network data, and location data.
 7              14.      Subscriber Identity Module (" SIM") Cards, also known as subscriber identity
 8 II modules, are smart cards that store data for cellular telephone subscribers. Such data
 9 II includes user identity, location and phone number, network authorization data, personal
10 II security keys, contact lists and stored text messages. Much of the evidence generated by a
11 II smuggler's use of a cellular telephone would likely be stored on any SIM Card that has
12 II been utilized in connection with that telephone.
13 II           15.      Tablets, which are also mobile devices, have many, if not all, of the same
14 II features as cellular telephones, and so are attractive to drug-trafficking organizations for
15 II the same reasons that cellular telephones are. Tablets too are mobile and provide instant
16 II access to texts, internet, application-based communications platforms (e.g., WhatsApp),
17 11 and, for many models, telephone calls and voice messages.
18                                 FACTS IN SUPPORT OF PROBABLE CAUSE
19 II            16.     According to a report prepared by CBP Officer Manis, at about 9:30 p.m. on
20 II January 7, 2019, Officer Manis was conducting inspections in the pre-primary inspection
21      area at the San Ysidro POE with a K-9 Unit. At that time, the K-9 Unit alerted to the spare
22 tire of a grey Kia Sorento bearing California license plate 6TCL582. Officer Manis
23 informed fellow CBP Officer Garcia of the alert.
24               17.     Per Officer Garcia's report, Officer Garcia came over to the Kia Sorento and
25 II inspected the spare tire, which was located under the vehicle. Officer Garcia felt the tire,
26 which felt solid. Officer Garcia then approached the driver, MARTINEZ-ROBOS, who
27 said that he was going to Los Angeles with his passenger, ACUNA, and ACUNA's child
28 II (who was also in the car). MARTINEZ-ROBOS told Officer Garcia that he was coming
                                                         5
        Affidavit in Support o.f'Search Warrant
             Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.7 Page 7 of 12



 1 II from Tijuana, and he twice said that he had nothing to declare. At this point, Officer Garcia
 2 II had MARTINEZ-ROBOS get out of the car; he handcuffed MARTINEZ-ROBOS and
 3 II escorted him to the security office. (The reports prepared by the CBP Officers does not
 411 state what ACUNA and her child did at this point, but I am aware from my own training
 5 II and experience that when a vehicle is sent to secondary inspection, CBP Officers will first
 6 II remove the occupants and have them wait in an area like the security office at the Port of
 711 Entry.)
 8 II           18.      The Kia Sorrento was sent to secondary inspection and scanned through the
 911 "Z-Portal" X-Ray Machine. Per the report of CBP Officer Santos, the scans showed
1O 11 anomalies in the spare tire and in the rear quarter panels of the vehicle.
11 II           19.      Per CBP Officer Nicklen's report, Officer Nicklen then removed a package
12 II from the rear passenger-side quarter panel of the Kia Sorento; the contents of the package
13 II field-tested as positive for cocaine. In total, Officer Nicklen recovered four packages from
14 II the quarter panel and 21 from the spare tire; the 25 total packages had a gross weight of
15 1128.68 kilograms.
16 II           20.      Per his report, after discovering the first package in the rear passenger-side
17 II quarter panel, Officer Nicklen placed MARTINEZ-ROBOS and ACUNA under arrest for
18 II the importation of controlled substances. Officer Nicklen also seized the Kia Sorento and
19 llthe cocaine. Shortly thereafter, I seized the personal effects belonging to MARTINEZ-
20 II ROBOS and ACUNA, including the Target Devices. Specifically, Target Devices 1 and
21 112 were seized from MARTINEZ-ROBOS, and Target Devices 3 and 4 were seized from
22 IIACUNA.
23              21.      Following their arrests, both MARTINEZ-ROBOS and ACUNA received
24 II their Miranda rights from HSI Special Agent Raul Rodriguez. Per Special Agent
25 II Rodriguez's report, both MARTINEZ-ROBOS and ACUNA claimed not to know about
26 II the presence of cocaine in the Kia Sorento.
27 II           22.      I note that in the post-arrest interview, ACUNA provided a "PIN" code for
28 II Target Device 3. Investigators did not make use of that PIN code when attempting their
                                                       6
        Affidavit in Support of Search Warrant


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             Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.8 Page 8 of 12



 1 II first search, and intend now to use the PIN code to obtain a better download of the device.
 2              23.      I am also aware of added information tending to support probable cause,
 3 11 gathered in the course of this investigation. Photographs found on Target Device 4 tend to
 411    show that ACUNA and MARTINEZ-ROBOS were working together to bring drugs into
 5 II the United States; those photos, which are on Acuna's phone, are of (i) the Kia Sorento,
 6 II (ii) the rear storage area, (iii) a man standing next to the storage area with his hand on a
 7 II spare tire, which investigators believe is MARTINEZ-ROBOS, (iv) various pictures of
 8 II tires, (v) MARTINEZ-ROBOS and ACUNA together in an intimate pose, and (vi) pictures
 9 II of bulk quantities that, based on my training and experience, are consistent with
10 II methamphetamine and cocaine. And, a review of crossing records shows that ACUNA and
11 11 MARTINEZ-ROBOS crossed the border together on several occasions in December 2018,
1211 before getting arrested in January 2019 in this case.
13 II           24.      Based upon my experience investigating drug smuggling, my training, and my
14 11 consultation with other investigators who have experience investigating drug smuggling in
15 II near the border, I understand that drug smugglers will seek to smuggle drugs from Mexico
16 II to the United States by hiding the drugs in hidden compartments of cars, and in non-factory
17 II compartments (i.e., compartments that the manufacturer did not design for ordinary use).
18 II Smugglers will then drive north from Mexico and seek to pass through POEs with the drugs
19 II undetected. (I am also aware that such individuals will sometimes try to generate a history
20 II of crossings to show that driving through a POE is ordinary behavior for them.) When they
21 II arrive in the United States, smugglers will take the drugs to a discreet location to transfer
22 II them to other people involved in the distribution chain, who can then send the drugs to
23 other locations for downstream distribution.
24              25.      Given the facts surrounding the arrests ofMARTINEZ-ROBOS and ACUNA,
25 II and based upon my experience and training, as well as consultation with other law
26 II enforcement officers experienced in drug smuggling investigations, I submit that there is
27 II probable cause to believe that information relevant to the smuggling activities of
28 II MARTINEZ-ROBOS and ACUNA will be found in the Target Devices. Such evidence,
                                                      7
        Affidavit in Support of Search Warrant

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             Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.9 Page 9 of 12



 1 II which could be in the form of communications, records, data (including but not limited to
 2 II emails, text messages, other social messaging applications), photographs, audio files,
 3 II videos, or location data:
 4 II                    a.       tending to indicate efforts to import cocaine or some other federally
 5 II controlled substance from Mexico into the United States;
 6 II                    b.       tending to identify accounts, facilities, storage devices, and/or
 7 II services-such as email addresses, IP addresses, and phone numbers-used to facilitate the
 8 II importation of cocaine or some other federally controlled substance from Mexico into the
 9 II United States;
10 II                    c.       tending to identify co-conspirators, criminal associates, or others
11 II involved in importation of cocaine or some other federally controlled substance from
12 II Mexico into the United States;
13 II                    d.       tending to identify travel to or presence at locations involved in the
14 II importation of cocaine or some other federally controlled substance from Mexico into the
15 II United States;
16                       e.       tending to identify the movement of proceeds associated with the
17 II trafficking of cocaine or some other federally controlled substance that was imported from
18 Mexico into the United States;
19                       f.       tending to identify the user of, or persons with control over or access
20 II to, the Target Devices; and/or
21 II                    g.       tending to place in context, identify the creator or recipient of, or
22 II establish the time of creation or receipt of communications, records, or data involved in the
23 activities described above.
24              26.      Finally, I note that drug conspiracies generally entail detailed and intricate
25 II planning as part of efforts to evade detection by law enforcement. In my professional
26 II training and experience, I am aware that this requires planning and coordination in the days
27 II and weeks (and often months) prior to the relevant drug-related event. Additionally, I am
28 II aware that co-conspirators are often unaware of a subject's arrest and will continue to
                                                          8
        Affidavit in Support of Search Warrant
         Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.10 Page 10 of 12



 1 II attempt to communicate with the subject after the arrest to determine the whereabouts of
 2 II their valuable cargo, particularly in the hours following the arrest.          In light of this
 3 II understanding and the information provided in this affidavit, including the new information
 4 II provided in Paragraph 23, I believe seek authority to review the devices without a limiting
 5 II date range.
 6                                            METHODOLOGY
 7           27.      It is not possible to determine, merely by knowing a cellular telephone's or
 8 II tablet's make, model and serial number, the nature and types of services to which the
 9 devices are subscribed and the nature of the data stored on the devices. Cellular devices
1O today can be simple cellular telephones and text message devices, can include cameras, can
11 II serve as personal digital assistants and have functions such as calendars and full address
12 II books and can be mini-computers allowing for electronic mail services, web services and
13 11 rudimentary word processing. An increasing number of cellular service providers now allow
14 11 for their subscribers to access their devices-both phones and tablets-over the internet and
15 II remotely destroy all of the data contained on the devices. For that reason, the devices may
16 II only be powered in a secure environment or, if possible, started in "flight mode" which
17 II disables access to the network. Unlike typical computers, many cellular telephones and
18 II tablets do not have hard drives or hard-drive equivalents and store information in volatile
19 II memory within the       devices or in memory cards inserted into the devices. Current technology
20 II provides some solutions for acquiring some of the data stored in some cellular telephone
21 11 models, and some tablets, using forensic hardware and software. Even if some of the stored
22 II information on the devices may be acquired forensically, not all of the data subject to seizure
23 II may be so acquired. For devices that are not subject to forensic data acquisition or that have
24 II potentially relevant data stored that is not subject to such acquisition, the examiner must
25 II inspect the device manually and record the process and the results using digital
26 II photography. This process is time and labor intensive and may take weeks or longer.

27          28. Following the issuance of this warrant, I will collect the Target Devices and
28 II subject them to analysis. All forensic analysis of the data contained within the Target
                                                      9
     Affidavit in Support of Search Warrant
             Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.11 Page 11 of 12



 1 II Devices and any associated memory cards will employ search protocols directed
 2 II exclusively to the identification and extraction of data within the scope of this warrant.
 3 II             29.      Based on the foregoing, identifying and extracting data subject to seizure
 4 II pursuant to these warrants may require a range of data analysis techniques, including
 5 II manual review, and, consequently, may take weeks or months. The personnel conducting
 6 II the identification and extraction of data will complete the analysis within ninety (90) days,
 7 II absent further application to this court.
 8 II                           PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 9                30.      Law enforcement has attempted to obtain the evidence sought, pursuant to
     II
10 warrants authorized by this Court.
11                                                 CONCLUSION
12 II             31.      Based on all of the facts and circumstances described above, I believe probable
13 II cause exists to conclude that MARTINEZ-ROBOS and ACUNA used the Target Devices
14 II to facilitate the offense of drug smuggling and to communicate with co-conspirators. The
15 II Target Devices were likely used to facilitate the offense by transmitting and storing data,
16 which constitutes evidence of violations of Title 21, United States Code, Sections 952, 960,
17 and 963.
18                32.      Because the Target Devices were promptly seized following the arrests of
19 IIMARTINEZ-ROBOS and ACUNA at the San Ysidro POE, there is probable cause to
20 II believe that evidence of the smuggling offense committed by them continues to exist on the
21 II Target Devices. As stated above, I believe that the date range for this search is from
22 IINovember 7, 2018, up to and including January 8, 2018.
23 II             33.      WHEREFORE, I request that the court issue a warrant authorizing HSI Special
24 IIAgents and/or other federal and state law enforcement officers specially trained in digital
25 II evidence recovery, to search the Target Devices, as described in Attachments Al through

26 I I I
27 I I I
28 I I I
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          Affidavit in Support of Search Warrant
        Case 3:19-mj-04910-AHG Document 1 Filed 11/05/19 PageID.12 Page 12 of 12



 1 II A-4, and seize the items listed in Attachment B, using the methodology
 2           I swear the foregoing is true and correct to the b~t
 3
 4
 5
                                               Homeland Security Investigations Special Agent
 6                                             Department of Homeland Security
 7
  II Subscribed and sworn to before me on
 8 this %        day of November, 2019.
 9
             ~                 -   ~
10 II THE HON. ALLISON H. GODDARD
11 11 United States Magistrate Judge

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     Affidavit in Support o.f Search Warrant
